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 1   Suzanne Burke Spencer, Esq. (SBN 188597)
     sspencer@sallspencer.com
 2   Michael A. Sall, Esq. (SBN 287981)
     msall@sallspencer.com
 3   SALL SPENCER CALLAS & KRUEGER
     A Law Corporation
 4   32351 Coast Highway
     Laguna Beach, CA 92651
 5   Telephone: (949) 499-2942
     Facsimile: (949) 499-7403
 6
     Attorneys for Defendants
 7   ORANGE COUNTY BAR ASSOCIATION,
     TRUDY LEVINDOFSKE and TERESA VUKI
 8
                              UNITED STATES DISTRICT COURT
 9
                             SOUTHERN DISTRICT OF CALIFORNIA
10
     AYNUR BAGHIRZADE, an individual,             Case No. 3:24-cv-01077-RSH-MMP
11
                Plaintiff,
12
     v.                                    REQUEST FOR JUDICIAL
13                                         NOTICE IN SUPPORT OF
     ARMENIAN NATIONAL COMMITTEE DEFENDANTS ORANGE
14   OF AMERICA, a Non-Profit Corporation; COUNTY BAR ASSOCIATION,
     et al.,                               TRUDY LEVINDOFSKE AND
15                                         TERESA VUKI’S MOTION TO
             Defendants.                   DISMISS PLAINTIFF’S FIRST
16                                         AMENDED COMPLAINT
17
                                                   Date:      November 14, 2024
18                                                 Judge:     Hon. Robert S. Huie
                                                   Courtroom: 3B
19
20         TO ALL INTERESTED PARTIES AND THEIR RESPECTIVE
21   ATTORNEYS OF RECORD:
22        In support of their Motion to Dismiss Plaintiff’s First Amended Complaint,
23   Defendants ORANGE COUNTY BAR ASSOCIATION, TRUDY LEVINDOFSKE
24   AND TERESA VUKI respectfully request this Court to take judicial notice of the

25   following documents:

26         1.     Orange County Bar Association Lawyer Referral & Information Service
                  Certificate of Compliance from the State Bar of California effective
27
                  November 15, 2023 through November 15, 2024, and accompanying
28
                                       1                    3:24-cv-01077-RSH-MMP
     REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF MOTION TO DISMISS PLAINTIFF’S
                           FIRST AMENDED COMPLAINT
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 1              correspondence to Teresa Vuki dated December 13, 2023, a true and
 2              correct copy of which is attached hereto as Exhibit C.
 3         2.   Orange County Bar Association Lawyer Referral & Information Service
 4              Certificate of Compliance from the State Bar of California effective
 5              November 15, 2022 through November 15, 2023, and accompanying
 6              correspondence to Teresa Vuki dated November 16, 2022, a true and

 7              correct copy of which is attached hereto as Exhibit D.

 8
     DATED: October 10, 2024           Respectfully submitted,
 9
                                       SALL SPENCER CALLAS & KRUEGER
10                                     A Professional Corporation
11
12
                                       By:
13                                                 Suzanne Burke Spencer
14                                     Attorneys for Defendants
                                       ORANGE COUNTY BAR ASSOCIATION,
15                                     TRUDY LEVINDOFSKE and TERESA VUKI
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                                       2                    3:24-cv-01077-RSH-MMP
     REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF MOTION TO DISMISS PLAINTIFF’S
                           FIRST AMENDED COMPLAINT
